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   EXHIBIT A
      Case 4:22-cv-00807 Document 1-1 Filed on 03/14/22 in TXSD Page 2 of 41 12/10/2021 11:01 AM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 59906481
                                                                                                              By: Joshua Hall
                                                                                                   Filed: 12/3/2021 2:15 PM

                                    CAUSE NO. _____________

TRANSWORLD ADVERTISING, INC.                     §          IN THE DISTRICT COURT OF
                                                 §
     Plaintiff,                                  §
                                                 §
v.                                               §
                                                 §            HARRIS COUNTY, TEXAS
                                                 §
SPB HOSPITALITY, LLC                             §
                                                 §
     Defendant.                                  §          _______ JUDICIAL DISTRICT


                              PLAINTIFF’S ORIGINAL PETITION

         Plaintiff TRANSWORLD ADVERTISING, INC. (“Transworld” or “Plaintiff”) files this

petition complaining of Defendant SPB HOSPITALITY, LLC (“SPB” or “Defendant”) and in

support respectfully shows:

                                                     I.
                                               PARTIES

         1.       Transworld is a Florida corporation with its principal place of business in

Melbourne, Florida.

         2.       SPB is a Delaware limited liability company with its principal place of business in

Houston, Texas, but is not properly registered in the State of Texas. SPB may be served by and

through its registered agent, CT Corporation Systems at 300 Montvue Road, Knoxville, TN

37919-5546 or wherever else it may be found.

                                                II.
                                      JURISDICTION AND VENUE

         3.       This Court has jurisdiction over the subject matter of this dispute because the

amount in controversy exceeds this court’s minimum jurisdictional requirements.




PLAINTIFF’S ORIGINAL PETITION                                                                  Page 1 of 7
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       4.       Venue is proper in Harris County under Tex. Civ. Prac. Rem. Code § 15.002(a)(1)

and (3) because all or a substantial part of the events or omissions giving rise to the claim

occurred in Harris County and Defendant’s principal office is in the State of Texas and is located

in Harris County.

                                            III.
                                  DISCOVERY CONTROL PLAN

       5.       Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil

Procedure 190.3 because this suit involves monetary relief exceeding $100,000.

                                               IV.
                                             FACTS

       6.       Transworld offers recruitment and marketing services to businesses, primarily by

advertising restaurant industry job openings. Transworld develops and implements paid

advertising campaigns on internet job boards such as Indeed, Snagajob, CraigsList and

Ziprecruiter.

       7.       In addition, Transworld provides client support for web design, employment

branding, applicant tracking system administration, hiring event process design and

implementation, etc.

       8.       Transworld provided these services to Defendant and related/subsidiary entities.

In exchange for Transworld’s services, supra, SPB agreed to compensate Transworld for

services provided to Defendant and related/subsidiary entities.

       9.       The rates and amounts for Plaintiff’s services to Defendant were a novation of

prior 2017 agreements with Defendant’s bankrupt predecessor entities because the same

individuals had been employed by both pre and post bankrupt entities. The Defendant entity was

substituted in for the preceding, bankrupt entities; while the entities changed, the people doing




PLAINTIFF’S ORIGINAL PETITION                                                           Page 2 of 7
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business together, the compensation rates, and the tasks assigned/performed by Plaintiff

remained the same.

       10.     No sums are sought for services prior to the termination of the Chapter 11

proceeding, or against entities that had sought bankruptcy protection.

       11.     SPB agreed to settle its account with Transworld by remitting actual amounts

agreed upon by the parties given their prior course of dealing. (“Open Account”). See Exhibit A-

1.

       12.     For over a year from May 1, 2020 until September 30, 2021, SPB consistently and

without challenge or inquiry paid the invoices in full at the at the stated amount by Plaintiff for

the services provided by Transworld. The dates and amounts of SPB’s payments are fully

accounted for and credited to the account as reflected in Exhibit A-1.

       13.     Such conduct by Defendant evidences and binds Defendant to the ratified

agreement(s) with Plaintiff for services rendered for Defendant and its related entities’ benefit.

       14.     On October 1, 2021, Defendant terminated all business dealings with Plaintiff.

       15.     Since that time, SPB has refused to pay Transworld for services previously

performed, thus becoming indebted to Transworld in the sum of $263,785.09, including accrued

interest. See Exhibit A.

       16.     On November 1, 2021, Transworld made formal written demand on SPB for

payment in full of the amount owed through that date.

       17.     Defendant has failed to make any payment on the amount demanded.


                                               V.
                                COUNT 1: SUIT ON SWORN ACCOUNT




PLAINTIFF’S ORIGINAL PETITION                                                             Page 3 of 7
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        18.    Transworld repeats and incorporates by reference the matters alleged in the

preceding paragraphs.

        19.    Transworld provided services to SPB on an Open Account. See Exhibit A-1. In

consideration of the services rendered by Transworld, on which a systematic record has been

kept, SPB accepted the services and became bound and liable to pay Transworld the prices

charged for the services in the amount of $263,785.09, plus interest, for which Transworld now

sues.

        20.    The foregoing amount is just and true and all just and lawful offsets, payments,

and credits have been allowed.

        21.    As a result of such failure to pay, SPB is also liable for all collection costs

incurred by Transworld, including its reasonable and necessary attorneys’ fees pursuant to Tex.

Civ. Prac. & Rem. Code § 38.001(7).

                                               VI.
                                 COUNT 2: BREACH OF CONTRACT

        22.    Transworld repeats and incorporates by reference the matters alleged in the

preceding paragraphs.

        23.    Transworld provided services to SPB pursuant to binding agreements between the

parties. Transworld fully performed all its obligations under the contract(s), orally or otherwise,

and SPB accepted all services rendered.

        24.    All conditions precedent from the agreement(s) of the parties to form the

contract(s), orally or otherwise, and to create SPB’s contractual liability have occurred or been

performed.

        25.    By reason of SPB’s failure to pay for the services provided by Transworld, SPB

has breached the contract(s) with Transworld. As a result of SPB’s breach, Transworld has been



PLAINTIFF’S ORIGINAL PETITION                                                            Page 4 of 7
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injured and is entitled to recover the amount of $263,785.09, plus interest.

         26.      As a result of such breach, SPB is also liable for all attorneys reasonable and

necessary attorneys’ fees incurred by Transworld pursuant to Tex. Civ. Prac. & Rem. Code §

38.001(8).

                                                   VII.
                                         COUNT 3: QUANTUM MERUIT

         27.      Transworld repeats and incorporates by reference the matters alleged in the

preceding paragraphs.

         28.      In the alternative, Transworld is entitled to recover in quantum meruit because

SPB, with full knowledge and consent, received the benefits of the services provided by

Transworld at SPB’s request and insistence. Accordingly, SPB is required to pay a reasonable

fee for the benefits conferred and accepted, which is a sum no less than $263,785.09.


                                                  VIII.
                                      COUNT 4: UNJUST ENRICHMENT1

         29.      Transworld repeats and incorporates by reference the matters alleged in the

preceding paragraphs.

         30.      Throughout the course of this arrangement, SPB received applications for the

services provided by Transworld. These candidates were directed into SPB’s Applicant Tracking

System where managers were able to review candidates, interview and hire.




1
 From a NY perspective, unjust enrichment is duplicative of quantum meruit. As such, it opens up a stalling/drive
up fees opportunity for a motion to dismiss. I’m not sure it adds anything. That said, if there is a TX difference let’s
move forward.


PLAINTIFF’S ORIGINAL PETITION                                                                               Page 5 of 7
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       31.      In the alternative, Transworld is entitled to recover under a theory of unjust

enrichment because SPB, with the intent not to pay or otherwise take undue advantage, received

the benefits of the services provided by Transworld at SPB’s request and insistence.

Accordingly, SPB is required to pay a reasonable fee for the benefits conferred and accepted,

which is a sum no less than $263,785.09.

       32.     Transworld is also entitled to an unjust enrichment recovery for Defendants use of

its proprietary advertisement intellectual property since November 1, 2021 in continuing the

Program with Indeed without Plaintiff.

                                             IX.
                                  COUNT 5: ATTORNEY’S FEES

       33.     Transworld retained counsel to collect the claim and has agreed to pay a

reasonable fee to the attorney. Counsel presented Transworld’s claim to SPB and/or SPB’s duly

authorized agent, and SPB did not tender the amount owed within 30 days after the claim was

presented. Accordingly, Transworld is entitled to recover reasonable attorney’s fees pursuant to

Tex. Civ. Prac. & Rem. Code § 38.001.

                                                 X.
                                       PRAYER FOR RELIEF

       Therefore, Plaintiff Transworld. respectfully requests that Defendant SPB be cited to

appear and answer, and that on final disposition, the court award plaintiff the following relief:

               a.      Damages in the amount due of $263,785.09;
               b.      Pre-judgment interest at the maximum rates allowed by law;
               c.      Post-judgment interest at the maximum rates allowed by law;
               d.      Reasonable and necessary attorneys’ fees incurred herein and in all
                       subsequent appeals;
               e.      Reasonable costs of court and expenses incurred in this cause, plus any
                       fees, costs, or expense incurred in any appeal of this matter; and
               f.      Any other relief to which Transworld is entitled.


PLAINTIFF’S ORIGINAL PETITION                                                             Page 6 of 7
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Dated: December 3, 2021             Respectfully submitted,

                                    VANACOUR PERKINS PLLC



                                      S/ KEVIN PERKINS
                                    Kevin Perkins
                                    State Bar No. 24053420
                                    kperkins@vanacourperkins.com
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                                    ATTORNEY FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION                                         Page 7 of 7
      Case 4:22-cv-00807 Document 1-1 Filed on 03/14/22 in TXSD Page 9 of 41                              2/10/2022 1:10 PM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 61630214
                                                                                                             By: Lisa Thomas
                                                                                                   Filed: 2/10/2022 1:10 PM

                                      CAUSE NO. 202180561

TRANSWORLD ADVERTISING, INC.                    §          IN THE DISTRICT COURT OF
                                                §
     Plaintiff,                                 §
                                                §
v.                                              §
                                                §            HARRIS COUNTY, TEXAS
                                                §
SPB HOSPITALITY, LLC                            §
                                                §
     Defendant.                                 §             61st JUDICIAL DISTRICT


                          PLAINTIFF’S REQUEST FOR CITATION

         Plaintiff TRANSWORLD ADVERTISING, INC. (“Transworld” or “Plaintiff”) files this

PLAINTIFF’S REQUEST FOR CITATION in the above referenced matter.

                                        PRAYER FOR RELIEF

         Therefore, Plaintiff Transworld respectfully requests that the Court issue citations in this

matter and grant any other relief to which Transworld is entitled.



Dated: February 10, 2022                       Respectfully submitted,

                                               VANACOUR PERKINS PLLC



                                                 S/ KEVIN PERKINS
                                               Kevin Perkins
                                               State Bar No. 24053420
                                               Jason Vanacour
                                               State Bar No. 24073250
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                                               ATTORNEY FOR PLAINTIFF




PLAINTIFF’S REQUEST FOR CITATION                                                               Page 1 of 2
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                                CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document was served by e-service
on all required parties under the Texas Rules of Civil Procedure on the 10th day of February
2022.




                                                  s/ Kevin Perkins
                                                     Kevin Perkins




PLAINTIFF’S REQUEST FOR CITATION                                                        Page 2 of 2
       Case 4:22-cv-00807 Document 1-1 Filed on 03/14/22 in TXSD Page 11 of 41                              3/11/2022 9:44 AM
                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                                      Envelope No. 62519956
                                                                                                           By: Tiffany Jefferson
                                                                                                     Filed: 3/11/2022 9:44 AM

                                            CAUSE NO. 2021-80561

TRANSWORLD ADVERTISING, INC.,                                  §     IN THE DISTRICT COURT OF
     Plaintiff/Counter-Defendant,                              §
                                                               §
v.                                                             §     HARRIS COUNTY, TEXAS
                                                               §
SPB HOSPITALITY, LLC,                                          §
     Defendant/Counter-Plaintiff.                              §     61ST JUDICIAL DISTRICT

            SPB HOSPITALITY, LLC’S ORIGINAL ANSWER, VERIFIED DENIAL,
                          AND ORIGINAL COUNTERCLAIM

           COMES NOW, Defendant and Counter-Plaintiff, SPB HOSPITALITY, LLC (“SPB”), in

the above-captioned lawsuit, and files this Original Answer, Verified Denial, and Original

Counterclaim, and SPB would show unto the Court the following:

                                              GENERAL DENIAL

           1.       Pursuant to TEXAS RULE OF CIVIL PROCEDURE 92, SPB denies each and every, all

and singular, the material allegations contained in Plaintiff and Counter-Defendant,

TRANSWORLD ADVERTISING, INC.’s (“Transworld”) pleadings filed herein, and SPB

demands strict proof thereof, as required by the laws of the State of Texas.

                                             VERIFIED DENIAL1

           2.       Pursuant to TEXAS RULE OF CIVIL PROCEDURE 185, SPB denies, under oath, that

the factual allegations plead by Transworld in its Original Petition in support of its suit on a sworn

account claim, under Rule 185, are just and true, as specifically identified and denied herein.

           3.       SPB denies the account on which Transworld files suit because not every item of

the account is just or true.

           4.       SPB denies the account on which Transworld files suit because the claim is not due.




1
    See Affidavit of Maria Dawson, attached hereto as Exhibit “A.”
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       5.       SPB denies the account on which Transworld files suit because Transworld has not

credited SPB’s account with all just and lawful offsets, payments, and other credits.

       6.       SPB denies the account on which Transworld files suit because the amount

Transworld claims is due is incorrect.

       7.       SPB denies the account on which Transworld files suit because Transworld charged

SPB for the alleged services that are not in accordance with the parties’ agreement and are

unreasonable.

       8.       Specifically, the invoices Transworld relies on in support of its suit on a sworn

account claim are not valid because: (1) the alleged services referenced in the invoices were not

approved by SPB, (2) the invoices failed to specify locations where the alleged services were

rendered or provided, (3) the invoices failed to specify who at SPB requested or approved the

services that were allegedly rendered or provided by Transworld, (4) many of the invoices reflect

charges for alleged services that are not reasonably priced for what was allegedly being provided,

and (5) many of the invoices also reflect charges that were billed to SPB under one category and

then billed again to SPB under another category.

       9.       As such, Transworld’s assertion that “The foregoing amount is just and true and all

just and lawful offsets, payments, and credits have been allowed,” is untrue.

                                  AFFIRMATIVE DEFENSES

       10.      SPB pleads the following affirmative defenses to Transworld’s Original Petition,

and any supplements or amendments thereto, but SPB does not assume the burden of proof on any

such affirmative defenses, except as otherwise required by law. SPB reserves the right to assert

new or additional defenses or affirmative defenses and to otherwise supplement or amend its

Original Answer, as new or additional information or documentation becomes available through




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discovery. Each of the following affirmative defenses are plead in the alternative, as all liability

is generally denied.

       11.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, Transworld’s claims are barred, in

whole or in part, by the doctrine of illegality, thus rendering any agreement or contract, upon which

Transworld relies in support of its claims for damages, void and unenforceable. Specifically, and

upon information and belief, the Agency Support & Career Site Maintenance Agreement

(“Agreement”), which is attached as Exhibit “B,” is unenforceable because the invoices

Transworld relies on in support of its claims are not valid because: (1) the alleged services

referenced in the invoices were not approved by SPB, (2) the invoices failed to specify locations

where the alleged services were rendered or provided, (3) the invoices failed to specify who at

SPB requested or approved the services that were allegedly rendered or provided by Transworld,

(4) many of the invoices reflect charges for alleged services that are not reasonably priced for what

was allegedly being provided, and (5) many of the invoices also reflect charges that were billed to

SPB under one category and then billed again to SPB under another category.

       12.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, Transworld’s claims are barred in whole or in part based on

Transworld’s fraud. Specifically, and upon information and belief, the invoices Transworld relies

on in support of its claims are not valid because: (1) the alleged services referenced in the invoices

were not approved by SPB, (2) the invoices failed to specify locations where the alleged services

were rendered or provided, (3) the invoices failed to specify who at SPB requested or approved

the services that were allegedly rendered or provided by Transworld, (4) many of the invoices




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reflect charges for alleged services that are not reasonably priced for what was allegedly being

provided, and (5) many of the invoices also reflect charges that were billed to SPB under one

category and then billed again to SPB under another category.

       13.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, Transworld’s claims are barred, in whole or in part, by the

doctrine of unclean hands and/or estoppel.

       14.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, Transworld’s claims are barred, in whole or in part, because

Transworld has not sustained any damages.

       15.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, Transworld’s claims are barred, in whole or in part, pursuant

to accord and satisfaction.

       16.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, to the extent an actionable agreement or contract exists

between SPB and Transworld, or is established in whole or in part, any duty or performance of

SPB is excused by reason of acceptance by Transworld.

       17.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely




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event it is found liable to Transworld, Transworld’s claims are barred because Transworld failed

to act, at all times, in good faith and fair dealing.

        18.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, Transworld’s claims are barred, in whole or in part, by the

doctrine of ratification.

        19.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, SPB is entitled to a credit or offset for any and all sums

Transworld has received or may hereafter receive from SPB.

        20.     Pleading further if such is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, in the unlikely event Transworld

recovers an award of pre-judgment interest for un-accrued damages, such an award would violate

the following provisions, among others, of the Constitution of the State of Texas and the

U.S. Constitution: (i) Trial by Jury, TEX. CONST. ART. I, 15; (ii) Due Process, U.S. CONST. AMEND.

V and XIV; (iii) TEX. CONST. Art. I 13; and (iv) Constitutional Rights are Inviolate, TEX. CONST.

Art. I, 28. Further, SPB pleads the limitations for pre-judgment interest, as set forth in the TEXAS

FINANCE CODE.

        21.     Pleading further, if such pleading is necessary, and without admitting liability or

responsibility, all of which is generally and specifically denied, SPB asserts that in the unlikely

event it is found liable to Transworld, Transworld’s claims are barred, in whole or in part, because

of Transworld’s breach of the parties’ Agreement regarding payment terms for the alleged debt.




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                                   RIGHT TO SUPPLEMENT

       22.     SPB respectfully reserves the right to supplement or amend this Original Answer,

after it has had the opportunity to more closely investigate Transworld’s claims, as is the right and

privilege of SPB under the TEXAS RULES OF CIVIL PROCEDURE and the laws of the State of Texas.

                                         NOTICE OF USE

       23.     SPB hereby gives actual notice to Transworld that any and all documents produced

during discovery may be used against Transworld at any pre-trial proceeding and/or during the

trial of this matter without the necessity of authenticating the document. This notice is given

pursuant to TEXAS RULE OF CIVIL PROCEDURE 193.7.

                               SPB’S ORIGINAL COUNTERCLAIM

                                              PARTIES

       1.      Defendant and Counter-Plaintiff, SPB HOSPITALITY, LLC (“SPB”), by and

through its undersigned counsel, hereby files this Original Counterclaim (“Counterclaim”) against

Plaintiff and Counter-Defendant, TRANSWORLD ADVERTISING, INC. (“Transworld”), and in

so doing, states as follows:

       2.      SPB is a limited liability company, organized under the laws of the State of

Delaware, with its principal place of business in Houston, Texas. As stated in its Original Petition,

Transworld is a corporation, organized under the laws of the State of Florida, with its principal

place of business in Melbourne, Florida.

                                 JURSIDICTION AND VENUE

       3.      SPB’s Counterclaim seeks relief under common law and statute against Transworld

pursuant to the following: (1) breach of contract, (2) quantum meruit, (3) conversion, (4) civil theft

liability, (5) declaratory relief, (6) fraud, and (7) negligent misrepresentation.




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       4.      SPB asserts that the United States District Court for the Southern District of Texas,

Houston Division, has subject matter jurisdiction over this controversy because the amount in

controversy exceeds the sum of $75,000.00, and the controversy is between the citizens of two

different states, and therefore, SPB is filing a Notice of Removal, pursuant to 28 U.S.C. § 1332,

contemporaneously with the filing of this pleading.

       5.      SPB further asserts that venue is proper in the United States District Court for the

Southern District of Texas, Houston Division, pursuant to 28 U.S.C. § 1391, because the United

States District Court for the Southern District of Texas, Houston Division, embraces the place in

which this state-court action is currently pending, and also because several of the acts giving rise

to the state-court action occurred in the United States District Court for the Southern District of

Texas, Houston Division.

                                 GENERAL ALLEGATIONS

       6.      SPB is a leading operator and franchisor of full-service dining restaurants, spanning

a national footprint of hundreds of restaurants and breweries. SPB’s diverse portfolio of restaurant

brands includes Logan’s Roadhouse, J Alexander’s, Stoney River, Old Chicago Pizza & Taproom,

and a collection of restaurant-brewery brands, including Rock Bottom Restaurant & Brewery and

Gordon Biersch Brewery Restaurant. SPB also operates a collection of specialty restaurant

concepts including ChopHouse & Brewery, Big River Grille & Brewing Works, AIA Ale Works

Restaurant & Taproom, Ragtime Tavern Seafood & Grill, and Seven Bridges Grille & Brewery.

       7.      On June 11, 2020, SPB purchased, out of bankruptcy, several of the above-

described business operations from CraftWorks Holdings, Inc. (“CraftWorks”), after CraftWorks

closed its owned-and-operated locations on or about March of 2020, after a Chapter 11

Bankruptcy, followed immediately by the COVID-19 pandemic in the United States.




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       8.      According to its Original Petition, Transworld offers recruitment and marketing

services to businesses, primarily by advertising restaurant industry job openings, and further,

Transworld purportedly develops and implements paid advertising campaigns on internet job

boards, such as Indeed, Snagajob, Craigslist, and ZipRecruiter. As further alleged in its Original

Petition, Transworld also purportedly provides client support for web design, employment

branding, applicant tracking system administration, and hiring event process design and

implementation.

       9.      Prior to its Chapter 11 Bankruptcy, Transworld provided the above-described

services to CraftWorks.

       10.     On or about December 30, 2020, SPB and Transworld entered into an Agency

Support & Career Site Maintenance Agreement (“Agreement”), whereby Transworld agreed to

provide the above-described services to SPB, beginning on January 1, 2021, and lasting for a

period of 12 months. A copy of the Agreement is attached as Exhibit “B.”

       11.     Beginning in April of 2020, and ending in August of 2020, Transworld submitted

a series of invoices to SPB for payment for services that had allegedly been rendered or provided

by Transworld pursuant to the Agreement. Initially believing that these invoices were accurate

and were for work or services that had actually been rendered or provided by Transworld pursuant

to the Agreement, SPB made timely payments to Transworld. Unfortunately, and upon further

investigation by SPB, it was later revealed that many of the invoices that were submitted by

Transworld to SPB for work that had allegedly been rendered or provided by Transworld, and paid

for by SPB, were not valid.

       12.     More specifically, through its investigation, SPB discovered that many of the

invoices submitted by Transworld were not valid because: (1) the alleged services referenced in




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the invoices were not approved by SPB, (2) the invoices failed to specify locations where the

alleged services were rendered or provided, (3) the invoices failed to specify who at SPB requested

or approved the services that were allegedly rendered or provided by Transworld, (4) many of the

invoices reflect charges for alleged services that are not reasonably priced for what was allegedly

being provided, and (5) many of the invoices also reflected charges that were billed to SPB under

one category and then billed again to SPB under another category.

                    FIRST COUNTERCLAIM – BREACH OF CONTRACT

        13.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        14.     As more thoroughly described above, Transworld breached the Agreement with

SPB.

        15.     On or about December 30, 2020, SPB and Transworld entered into the Agreement.

SPB attaches a copy of the Agreement as Exhibit “B” and incorporates it by reference, as if fully

set forth herein. The Agreement provided that SPB would, among other things, make payments

to Transworld within 30 days of receipt an invoice, and that Transworld would only submit

invoices for services that were actually rendered or performed pursuant to the terms of the

Agreement.

        16.     SPB fully performed, or was excused from performing, its contractual obligations,

which were outlined in the Agreement.

        17.     Transworld breached the Agreement by submitting invalid invoices to SPB. More

specifically, through its investigation, SPB discovered that many of the invoices submitted by

Transworld were not valid because: (1) the alleged services referenced in the invoices were not

approved by SPB, (2) the invoices failed to specify locations where the alleged services were




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rendered or provided, (3) the invoices failed to specify who at SPB requested or approved the

services that were allegedly rendered or provided by Transworld, (4) many of the invoices reflect

charges for alleged services that are not reasonably priced for what was allegedly being provided,

and (5) many of the invoices also reflected charges that were billed to SPB under one category and

then billed again to SPB under another category.

        18.     Transworld’s breach caused injury to SPB, which resulted in the following

damages: $393,882.16.

        19.     SPB seeks liquidated damages in the amount of at least $393,882.16, which is

within the jurisdictional limits of this Court.

        20.     WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory damages available pursuant

to common law and statute, including, but not limited to, disgorgement of all ill-gotten gains of

Transworld, lost profits of SPB, pre- and post-judgment interest, attorney’s fees, and all costs and

expenses associated with this Counterclaim.

                      SECOND COUNTERCLAIM – QUANTUM MERUIT

        21.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        22.     SPB provided Transworld with multiple payments, which totaled $393,882.16, for

invalid invoices that were submitted to SPB by Transworld. More specifically, through its

investigation, SPB discovered that many of the invoices submitted by Transworld to SPB were not

valid because: (1) the alleged services referenced in the invoices were not approved by SPB, (2) the

invoices failed to specify locations where the alleged services were rendered or provided, (3) the

invoices failed to specify who at SPB requested or approved the services that were allegedly




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rendered or provided by Transworld, (4) many of the invoices reflect charges for alleged services

that are not reasonably priced for what was allegedly being provided, and (5) many of the invoices

also reflected charges that were billed to SPB under one category and then billed again to SPB

under another category. Transworld accepted payment of $393,882.16, which was based on the

invalid invoices that were submitted by Transworld to SPB.

       23.     SPB provided Transworld with payment, which totaled $393,882.16, for

Transworld’s benefit. At the time when SPB made its timely payments to Transworld, it initially

believed that the invoices were accurate and were for work or services that had actually been

rendered or provided by Transworld pursuant to the Agreement. Unfortunately, and upon further

investigation by SPB, it was later revealed that many of the invoices that were submitted by

Transworld to SPB for work that had allegedly been rendered or provided by Transworld, and paid

for by SPB, were not valid.

       24.     Transworld knew or should have known that SPB expected to only make payments

to Transworld for work or services that had actually been rendered or provided by Transworld

pursuant to the Agreement. Transworld further knew or should have known that SPB expected to

only make payments to Transworld: (1) for services that were approved by SPB, (2) at specified

locations, (3) for services that were actually requested or approved by SPB, (4) for services that

were reasonably priced for what was allegedly being provided, and (5) that Transworld would only

billed to SPB under one category and then not bill SPB again under another category for the same

work or services.

       25.     Because SPB expected that it was paying Transworld only for work or services that

were actually rendered or provided by Transworld, Transworld’s acceptance of the payment of




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$393,882.16 for work or services, which were not actually rendered or performed by Transworld,

resulted in the following damages to SPB: $393,882.16.

        26.     SPB seeks damages within the jurisdictional limits of this Court.

        27.     WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory damages available pursuant

to common law and statute, including, but not limited to, disgorgement of all ill-gotten gains of

Transworld, lost profits of SPB, pre- and post-judgment interest, attorney’s fees, and all costs and

expenses associated with this Counterclaim.

                          THIRD COUNTERCLAIM – CONVERSION

        28.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        29.     SPB had a right to immediate possession of the following personal property:

$393,882.16.

        30.     Transworld wrongfully acquired and exercised dominion and control over SPB’s

personal property. Specifically, Transworld submitted invalid invoices to SPB. More specifically,

through its investigation, SPB discovered that many of the invoices submitted by Transworld to

SPB were not valid because: (1) the alleged services referenced in the invoices were not approved

by SPB, (2) the invoices failed to specify locations where the alleged services were rendered or

provided, (3) the invoices failed to specify who at SPB requested or approved the services that

were allegedly rendered or provided by Transworld, (4) many of the invoices reflect charges for

alleged services that are not reasonably priced for what was allegedly being provided, and (5) many

of the invoices also reflected charges that were billed to SPB under one category and then billed

again to SPB under another category. Transworld’s acts amounted to a clear repudiation of SPB’s




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rights. More specifically, Transworld submitted invalid invoices to SPB, and then Transworld

accepted $393,882.16 in payment from SPB for the invalid invoices.

        31.     Transworld’s wrongful acts proximately caused injury to SPB, which resulted in

the following damages: liquidated damages in the amount of $393,882.16, loss of use of the

converted property, and loss of profits from the converted property.

        32.     SPB seeks return of the converted property and damages within the jurisdictional

limits of this Court.

        33.     SPB’s injury resulted from Transworld’s malice, which entitles SPB to exemplary

damages under TEXAS CIVIL PRACTICE & REMEDIES CODE § 41.003(a)(2).                     Specifically,

Transworld knew that the invoices it submitted to SPB for payment were invalid, and then accepted

payment from SPB for invoices that Transworld knew were invalid.

        34.     WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory and exemplary damages

available pursuant to common law and statute, including, but not limited to, disgorgement of all

ill-gotten gains of Transworld, lost profits of SPB, pre- and post-judgment interest associated with

this Counterclaim.

                  FOURTH COUNTERCLAIM – CIVIL THEFT LIABILITY

        35.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        36.     SPB brings this action under the Texas Civil Theft Liability Act for an unlawful

appropriation of property under TEXAS PENAL CODE § 31.03.




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       37.      SPB is entitled to possession of the personal property, in the amount of

$393,882.16, which SPB timely paid to Transworld following the receipt of Transworld’s invalid

invoices.

       38.      Transworld unlawfully appropriated SPB’s personal property, in the amount of

$393,882.16, in violation of TEXAS PENAL CODE § 31.03.             More specifically, through its

investigation, SPB discovered that many of the invoices submitted by Transworld to SPB were not

valid because: (1) the alleged services referenced in the invoices were not approved by SPB, (2) the

invoices failed to specify locations where the alleged services were rendered or provided, (3) the

invoices failed to specify who at SPB requested or approved the services that were allegedly

rendered or provided by Transworld, (4) many of the invoices reflect charges for alleged services

that are not reasonably priced for what was allegedly being provided, and (5) many of the invoices

also reflected charges that were billed to SPB under one category and then billed again to SPB

under another category.

       39.      Transworld’s unlawful appropriation was made with the intent to deprive SPB of

the property.    More specifically, Transworld submitted invalid invoices to SPB, and then

Transworld accepted $393,882.16 in payment from SPB for the invalid invoices.

       40.      Transworld’s wrongful conduct caused injury to SPB, which resulted in the

following damages: More specifically, Transworld submitted invalid invoices to SPB, and then

Transworld accepted $393,882.16.

       41.      Upon proof of actual damages, SPB is entitled to additional statutory damages of

up to $1,000.00 from Transworld under TEXAS CIVIL PRACTICE & REMEDIES CODE

§ 134.005(a)(1).

       42.      SPB seeks damages within the jurisdictional limits of this Court.




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        43.     SPB’s injury resulted from Transworld’s malice or actual fraud, which entitles SPB

to exemplary damages under TEXAS CIVIL PRACTICE & REMEDIES CODE § 41.003(a). Specifically,

Transworld knew that the invoices it submitted to SPB for payment were invalid, and then accepted

payment from SPB for invoices that Transworld knew were invalid.

        44.     SPB’s injury resulted from Transworld’s felony theft in the third degree or higher

under the Texas Penal Code that was committed knowingly or intentionally, which exempts this

claim from the cap on exemplary damages under TEXAS CIVIL PRACTICE & REMEDIES CODE

§ 41.008(c).

        45.     SPB is entitled to recover court costs under TEXAS CIVIL PRACTICE & REMEDIES

CODE § 134.005(b).

        46.     WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory and exemplary damages

available pursuant to Texas common law and statute, including, but not limited to, disgorgement

of all ill-gotten gains of Transworld, lost profits of SPB, pre- and post-judgment interest, attorney’s

fees, and all costs and expenses associated with this Counterclaim.

                        FIFTH COUNTERCLAIM – DECLARATORY RELIEF

        47.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        48.     There is a present and existing good-faith dispute between SPB and Transworld

concerning SPB’s rights and obligations under the Agreement, and whether SPB owes any

damages to Transworld under the Agreement.




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        49.     Accordingly, this is a claim for declaratory relief by SPB, pursuant to TEXAS CIVIL

PRACTICE      AND   REMEDIES CODE § 37.001, for the purpose of determining SPB’s rights and

obligations under the Agreement.

        50.     SPB seeks declarations that: (1) the invoices are invalid; and (2) SPB owes no

damages to Transworld under the Agreement.

        51.     WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory damages available pursuant

to common law and statute, including, but not limited to, disgorgement of all ill-gotten gains of

Transworld, lost profits of SPB, pre- and post-judgment interest, attorney’s fees, and all costs and

expenses associated with this Counterclaim.

                                SIXTH COUNTERCLAIM – FRAUD

        52.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        53.     Transworld represented to SPB that Transworld was only submitting invoices to

SPB: (1) for work or services that were approved by SPB, (2) at specified locations, (3) for work

or services that were actually requested or approved by SPB, (4) for work or services that were

reasonably priced for what was allegedly being provided, and (5) that Transworld would only bill

SPB under one category and then not bill SPB again under another category for the same work or

services.

        54.     Transworld’s representations to SPB were material because they were the basis for

the payment for the work or services provided by Transworld pursuant to the Agreement between

Transworld and SPB.




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       55.     Transworld’s representations through the invoices that were submitted to SPB were

false statements of fact because: (1) the alleged services referenced in the invoices were not

approved by SPB, (2) the invoices failed to specify locations where the alleged services were

rendered or provided, (3) the invoices failed to specify who at SPB requested or approved the

services that were allegedly rendered or provided by Transworld, (4) many of the invoices reflect

charges for alleged services that are not reasonably priced for what was allegedly being provided,

and (5) many of the invoices also reflected charges that were billed to SPB under one category and

then billed again to SPB under another category.

       56.     Transworld made the false representations knowing they were false. Specifically,

Transworld knew that the invoices it submitted to SPB for payment were invalid, and then accepted

payment from SPB for invoices that Transworld knew were invalid.

       57.     Transworld intended for SPB to rely on, or had reason to expect that SPB would

act in reliance on, the false representations. Specifically, Transworld knew that the invoices it

submitted to SPB for payment were invalid, and then accepted payment from SPB for invoices

that Transworld knew were invalid.

       58.     SPB justifiably relied on Transworld’s false representations when SPB initially

believed that the invoices were accurate and were for work or services that had actually been

rendered or provided by Transworld pursuant to the Agreement. SPB made timely payments to

Transworld under this belief. Unfortunately, and upon further investigation by SPB, it was later

revealed that many of the invoices that were submitted by Transworld to SPB for work that had

allegedly been rendered or provided by Transworld, and paid for by SPB, were not valid.

       59.     Transworld’s false representations directly and proximately caused injury to SPB,

which resulted in the following damages: $393,882.16.




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        60.     SPB seeks damages within the jurisdictional limits of this Court.

        61.     SPB’s injury resulted from Transworld’s actual fraud, gross negligence, or malice,

which entitles SPB to exemplary damages under TEXAS CIVIL PRACTICE & REMEDIES CODE

§ 41.003(a). Specifically, Transworld knew that the invoices it submitted to SPB for payment

were invalid, and then accepted payment from SPB for invoices that Transworld knew were

invalid.

        62.     WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory and exemplary damages

available pursuant to common law and statute, including, but not limited to, disgorgement of all

ill-gotten gains of Transworld, lost profits of SPB, and pre- and post-judgment interest associated

with this Counterclaim.

            SEVENTH COUNTERCLAIM – NEGLIGENT MISREPRESENTATION

        63.     SPB re-alleges and re-incorporates the allegations contained in Paragraphs 1 to 12,

as if fully set forth herein.

        64.     Transworld represented to SPB that Transworld was only submitting invoices to

SPB: (1) for work or services that were approved by SPB, (2) at specified locations, (3) for work

or services that were actually requested or approved by SPB, (4) for work or services that were

reasonably priced for what was allegedly being provided, and (5) that Transworld would only bill

SPB under one category and then not bill SPB again under another category for the same work or

services.

        65.     Transworld made the representations in the course of its business with SPB, which

were outlined in the Agreement.




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       66.     Transworld made the representations for the guidance of others. More specifically,

Transworld made the representations to SPB Transworld was only submitting invoices to SPB:

(1) for work or services that were approved by SPB, (2) at specified locations, (3) for work or

services that were actually requested or approved by SPB, (4) for work or services that were

reasonably priced for what was allegedly being provided, and (5) that Transworld would only bill

SPB under one category and then not bill SPB again under another category for the same work or

services.

       67.     Transworld’s representations were misstatements of fact. Specifically, Transworld

should have known that the invoices it submitted to SPB for payment were likely invalid.

       68.     Transworld did not use reasonable care in communicating the information to SPB.

       69.     SPB actually and justifiably relied on Transworld’s representations when SPB

initially believed that the invoices were accurate and were for work or services that had actually

been rendered or provided by Transworld pursuant to the Agreement. In fact, SPB made timely

payments to Transworld under this mistaken belief. Unfortunately, and upon further investigation

by SPB, it was later revealed that many of the invoices that were submitted by Transworld to SPB

for work that had allegedly been rendered or provided by Transworld, and paid for by SPB, were

not valid.

       70.     Transworld’s misrepresentations proximately caused injury to SPB, which resulted

in the following damages: $393,882.16.

       71.     SPB seeks damages within the jurisdictional limits of this Court.

       72.     SPB’s injury resulted from Transworld’s gross negligence, which entitles SPB to

exemplary damages under TEXAS CIVIL PRACTICE & REMEDIES CODE § 41.003(a)(3). Specifically,

Transworld acted with conscious disregard when it submitted the invalid invoices to SPB for




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payment, and then accepted payment from SPB for invoices that Transworld should have known

were invalid, were it not for Transworld’s conscious indifference to the validity of the invoices.

        73.      WHEREFORE, SPB requests that the Court enter judgment in its favor and against

Transworld, and in so doing, award SPB all available compensatory and exemplary damages

available pursuant to common law and statute, including, but not limited to, disgorgement of all

ill-gotten gains of Transworld, lost profits of SPB, and pre- and post-judgment interest associated

with this Counterclaim.

                                       ATTORNEY’S FEES

        74.      SPB is entitled to recover reasonable and necessary attorney’s fees from

Transworld, pursuant to TEXAS CIVIL PRACTICE & REMEDIES CODE § 38.001(b)(8), because this is

a suit for breach of a written contract.

        75.      SPB is entitled to recover reasonable and necessary attorney’s fees from

Transworld, pursuant to TEXAS CIVIL PRACTICE & REMEDIES CODE § 38.001(b)(1)-(3), because

this is a suit for quantum meruit.

        76.      SPB is entitled to recover reasonable and necessary attorney’s fees from

Transworld, pursuant to TEXAS CIVIL PRACTICE & REMEDIES CODE § 134.005(b), because this is

a suit for civil theft liability.

        77.      SPB is entitled to recover reasonable and necessary attorney’s fees from

Transworld, pursuant to TEXAS CIVIL PRACTICE & REMEDIES CODE § 37.009, because this is a suit

for declaratory judgment.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, SPB HOSPITALITY, LLC respectfully

requests that, after notice and hearing, the Court enter a take-nothing judgment in its favor, that it




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go hence without delay for costs, and for such other and further relief, both special and general, at

law and in equity, and any and all other relief to which it may show itself to be justly entitled. SPB

HOSPITALITY, LLC further prays that judgment be entered in its favor and against Transworld

regarding SPB HOSPITALITY, LLC’s Original Counterclaim, and for all other relief to which

SPB HOSPITALITY, LLC may be entitled at law or equity.

                                               Respectfully submitted,

                                               GORDON REES SCULLY MANSUKHANI LLP

                                               By: /s/ Philip Robert Brinson
                                                       Philip Robert Brinson
                                                       State Bar No. 00787139
                                                       TransWestern Tower
                                                       1900 West Loop South, Suite 1000
                                                       Houston, Texas 77027
                                                       (713) 490-4834 (Telephone)
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                                                       prbrinson@grsm.com

                                               ATTORNEY FOR DEFENDANT AND
                                               COUNTER-PLAINTIFF,
                                               SPB HOSPITALITY, LLC

                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing instrument was served on all parties
and/or their counsel of record in accordance with the TEXAS RULES OF CIVIL PROCEDURE on
March 11, 2022.

                                               /s/ Philip Robert Brinson
                                               Philip Robert Brinson




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certificate of service that complies with all applicable rules.

Gloria Flores on behalf of Philip Brinson
Bar No. 787139
gflores@grsm.com
Envelope ID: 62519956
Status as of 3/11/2022 9:58 AM CST

Case Contacts

Name                   BarNumber Email                           TimestampSubmitted Status

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